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              IN THE UNITED STATES DISTRICT COURT FOR
               THE EASTERN DISTRICT OF PENNSYLVANIA

In Re: Generic Pharmaceuticals Pricing Antitrust Litigation
                                                                     16-md-2724




              NOTICE OF FILING OF OFFICIAL TRANSCRIPTS

       Notice is hereby given that official transcripts of proceedings held on 12/18/24 have been
  filed by the Office of the Clerk of Court in the above-captioned matter. The parties have seven
  (7) business days to file with the court a Notice of Intent to Request Redaction of these
  transcripts. If no such Notice is filed, the transcript may be made remotely electronically
  available to the Public without redaction after ninety (90) calendar days.

       Unless otherwise ordered by the court, the attorney must review the following portions of
  the transcript:

      $           opening and closing statements made on the party's behalf;
      $           statements of the party;
      $           the testimony of any witnesses called by the party;
      $           sentencing proceedings; and
      $           any other portion of the transcript as ordered by the court.

      Any party needing a copy of the transcript to review for redaction purposes may
  purchase a copy through the Office of the Clerk of Court or view the document at the Clerk's
  Office public terminal.
                                                     s/Michele Helmer
                                                    Michele Helmer, Deputy Clerk

                                     Certificate of Service
   I hereby certify that on 12/20/24, I served the forgoing notice upon the parties in this
   matter via e-mail and/or via first-class mail as indicated in the attached Notice of
   Electronic filing.

                                                                s/Michele Helmer
                                                                Michele Helmer, Deputy Clerk
